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                   Rebecca Gionta, Special Agent
                   Department of Homeland Security
                   Homeland Security Investigations
                   Tulsa Field Oﬃce
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PROFESSIONAL EXPERIENCE


08/2019-present:      Special Agent
                      Homeland Security Investigations
                      Tulsa, Oklahoma

                      Duties: Investigate alleged violations into the illegal movement of people,
                      goods, money, contraband, weapons, and sensitive technology into, out of, and
                      through the United States. These cases include drug and weapons smuggling,
                      cyber and ﬁnancial crime, child exploitation, human traﬃcking, ﬁnancial fraud,
                      illegal exports, and intellectual property crime. Investigative functions include
                      obtaining evidence, preparing and presenting criminal case reports to the
                      United States Attorney for prosecution of said violations; preparing and serving
                      arrest and/or search warrants; and testifying as a government witness.

                      Served as lead case agent on “Operation Heavy Metal” into the theft,
                      purchasing, packaging, and selling of stolen catalytic converters across the
                      United States. In this role, served as the aﬃant on six Title-III wiretaps, and led
                      enforcement actions to include a multi-agency, multi-jurisdictional coordinated
                      nationwide search warrant and arrest takedown. This investigation has
                      brought signiﬁcant wire fraud, money laundering and transportation of stolen
                      property charges, as well as seized over $7 million in bulk currency and
                      ﬁnancial accounts, 18 ﬁrearms, 3 semi-loads of catalytic converters, over 4000
                      pounds of precious metal powder, and multiple luxury vehicles.

                      Served as lead case agent into a criminal organization based in the Oklahoma
                      Department of Corrections responsible for the distribution of illegal controlled
                      substances and weapons traﬃcking that encompassed members of both the
                      Irish Mob Gang and the Universal Aryan Brotherhood. Received a 43-count
                      indictment on six gang members and received convictions on all defendants.

                      Served as lead case agent on a seven-defendant ﬁrst-degree murder case,
                      resulting in seven out of seven guilty pleas/verdicts, including the “shot-caller,”
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                   a high-ranking member of the Irish Mob gang who was serving a prison
                   sentence in the Oklahoma Department of Corrections at the time of the
                   homicide. After a jury trial, the “shot-caller” was found guilty and sentenced to
                   life in prison plus 36 years.

                   Lead case agent on a controlled delivery involving ketamine, which resulted in
                   the indictment, arrest and conviction of a Chinese national.

                   Lead case agent on an investigation which began as a video voyeurism case and
                   evolved into identifying ten additional female and juvenile victims who were
                   victims of various crimes ranging from burglary to sexual assault. The
                   investigation involved evidence processing to include footwear impressions
                   and DNA buccal swab federal search warrants.

                   Lead case agent on an investigation involving an adult male who was
                   attempting to entice a 12-year-old to have sexual intercourse; received a
                   confession from the defendant which resulted in a conviction and twelve-year
                   prison sentence.


04/2016-08/2019:   Deputy Sheriﬀ/Detective
                   Lake County Sheriﬀ’s Oﬃce
                   Waukegan, Illinois

                   Duties: Certiﬁed Field Training Oﬃcer which included the leading, supervising
                   and training of dozens of new deputies in a patrol capacity. Promoted to
                   detective in 2018 and investigated a myriad of crimes ranging property crimes
                   to homicide. Authored search and arrest warrants led teams of investigators,
                   and oversaw deputies when responding to call outs. Certiﬁed as a lead
                   homicide investigator. Certiﬁed as a drug recognition expert, a certiﬁcation
                   held by less than 100 sworn police oﬃcers in Illinois, which consisted of
                   routinely being requested by counties throughout Northern Illinois to conduct
                   detailed drug assessments of arrestees which resulted in additional charges
                   and convictions. Also was chosen to be a member of the Lake County Gang
                   Task Force in an undercover prostitution and narcotics capacity.


01/2014-04/2016:   Police Oﬃcer
                   Libertyville Police Department
                   Libertyville, Illinois
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                 Duties: Patrol Oﬃcer responsible for calls for service, traﬃc stops, arrests, and
                 interviews of hundreds of victims, witnesses, and suspects.
EDUCATION



2012-2015:       Chicago-Kent College of Law
                 Juris Doctor, State of Illinois Bar Exam Certiﬁed Attorney (License Inactive)
                 Chicago, Illinois

2008-2012:       University of Wisconsin-Madison
                 Bachelor of Science in Legal Studies and Criminal Justice
                 Madison, Wisconsin

PROFESSIONAL TRAINING RECEIVED


2020:            Homeland Security Investigations Special Agent Training (HSISAT): Received
                 specialized training in all programmatic areas that HSI investigates, in HSI’s
                 sixteen-week Special Agent Training Program

2019:            Federal Law Enforcement Training Center (FLETC): General investigative and
                 federal law training in the twelve-week Criminal Investigator Training Program;
                 included gathering and processing digital evidence

2014-Present:    Since the beginning of my law enforcement career, I have continued to attend
                 hundreds of hours of training outside the scope of general investigative duties.
                 This has included but is not limited to: Lead Homicide Investigator School, Drug
                 Evaluation and Classiﬁcation Training, Advanced Roadside Impaired Driving
                 Enforcement, Drug Recognition Expert, Crisis Intervention Team, Evidence
                 Technician, Field Training Oﬃcer, Anti-Gang Strategies, Reid School of
                 Interviews and Interrogations, Street Drugs, Ground Fighting and Control
                 Tactics

OTHER DUTIES/TRAINING/RECOGITION


08/2024:         Invited to Boracay, Philippines in August of 2024 to provide training to Filipino
                 law enforcement on money laundering and ﬁnancial crimes as a subject matter
                 expert
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2022-Present:    United States Marshals Service Northern Oklahoma Violent Crimes Fugitive
                 Task Force (NOVCTF) Task Force Oﬃcer, which includes special deputation as a
                 United States Marshal

2022-2024:       Evidence Custodian for the Tulsa Field Oﬃce

2023-Present:    Member of the Crisis Negotiation Team (CNT) for the Dallas Field Oﬃce

2023-Present:    Member of the SAC Dallas Recruitment Team

2022:            HSI SAC Dallas Investigator of the Year Award for Fiscal Year 2022
